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            8                              UNITED STATES DISTRICT COURT
            9                           NORTHERN DISTRICT OF CALIFORNIA
           10                                   OAKLAND DIVISION
           11    ROBERT ROSS,                              CASE NO. 4:19-CV-06669 (JST)
           12                     Plaintiff,               JOINT CASE MANAGEMENT
                                                           STATEMENT & [PROPOSED] ORDER
           13         v.
                                                           Hearing:
           14    AT&T MOBILITY, LLC,                       Date: October 27, 2020
                                                           Time: 2:00 PM
           15                     Defendant.               Place: 1301 Clay Street, 2nd Floor
                                                                  Courtroom 6
           16                                                     Oakland, CA 94612
                                                           Judge: Judge Jon S. Tigar
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Crutcher LLP

                            JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1            Pursuant to Civil Local Rule 16-10 and this Court’s September 8, 2020 Order, Plaintiff Robert
            2    Ross (“Mr. Ross”) and Defendant AT&T Mobility LLC (“AT&T”) hereby submit this Joint Case
            3    Management Statement and Proposed Order. This Joint Case Management Statement identifies
            4    subjects covered by the initial Joint Case Management Statement and Order as to which there are
            5    updates or changes since the initial Joint Case Management Statement and Order. Where the parties
            6    have disagreements in their respective submissions below, the fact that any assertion in either
            7    submission is not addressed or refuted by the opposing party does not reflect that party’s agreement to
            8    the assertion at issue.
            9                 I. PROGRESS AND CHANGES SINCE LAST STATEMENT WAS FILED
           10    A.      MOTIONS
           11            1.      Pending Motions
           12            Mr. Ross moved to amend the Complaint on August 25, 2020 seeking to add One Touch Direct,
           13    LLC and One Touch Direct – San Antonio, LLC as Defendants, as well as an additional claim for
           14    fraudulent concealment and additional grounds for punitive damages. Dkt. 58, 60-3. AT&T did not
           15    oppose the addition of One Touch Direct, LLC and One Touch Direct – San Antonio, but did oppose
           16    the new claim and new bases for punitive damages. This motion is fully briefed and pending before
           17    the Court.
           18            2.      Changes Since Last Statement Was Filed With Respect To Potential Future
                                 Motions
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                         AT&T anticipates that, if Mr. Ross is permitted to amend his Complaint, AT&T might be
           20
                 required to file an additional motion to dismiss. AT&T also anticipates filing a motion for summary
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                 judgment at an appropriate time.
           22
                 B.           AMENDMENT OF PLEADINGS
           23
                         The Court’s scheduling order set June 4, 2020 as the deadline to add parties or amend the
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                 pleadings. Dkt. 42 As set forth above, Plaintiff has moved to amend the Complaint. This motion is
           25
                 currently pending before the Court.
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                                  JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1    C.      DISCOVERY AND DISCLOSURES
            2           The parties have entered into a stipulated e-discovery order, Dkt. 50, and the Court has entered
            3    a protective order, Dkt. 57. Each party has served its initial disclosures pursuant to Fed. R. Civ. P.
            4    26(a). Each party has also served a first set of requests for production and interrogatories. Neither party
            5    has yet served responses or objections to these discovery requests.
            6    D.     SETTLEMENT AND ADR
            7           The parties, along with One Touch Direct, LLC and One Touch Direct – San Antonio,
            8    participated in a mediation on September 29, 2020 with the Honorable Michael Latin. The parties
            9    believe a further mediation may be warranted in the future, but that more discovery is necessary to
           10    make such a mediation productive.
           11    E.       DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
           12           In light of Plaintiff’s motion to amend the complaint, One Touch Direct, LLC, and One Touch
           13    Direct – San Antonio have an interest in the outcome of this case.
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                                 JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1    Dated: October 16, 2020                MARCELLUS MCRAE
                                                        ASHLEY E. JOHNSON
            2                                           GIBSON, DUNN & CRUTCHER LLP
            3
                                                        By: /s/ Marcellus McRae
            4                                           Marcellus McRae
                                                        Ashley E. Johnson
            5
                                                        MARCELLUS MCRAE, SBN 140308
            6                                             mmcrae@gibsondunn.com
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            9
                                                        ASHLEY E. JOHNSON, admitted pro hac vice
           10                                            ajohnson@gibsondunn.com
                                                        GIBSON, DUNN & CRUTCHER LLP
           11                                           2001 Ross Avenue
                                                        Dallas, TX 75201
           12                                           Telephone: 214.698.3100
                                                        Facsimile: 214.571.2949
           13
                                                        Attorneys for Defendant AT&T MOBILITY, LLC
           14

           15
                 Dated: October 16, 2020                Christopher Grivakes
           16                                           AFFELD GRIVAKES LLP

           17                                           By: /s/ Christopher Grivakes
                                                        Christopher Grivakes
           18                                           Damion Robinson
           19                                           CHRISTOPHER GRIVAKES
                                                         cg@agzlaw.com
           20                                           DAMION ROBINSON
                                                         dr@agzlaw.com
           21                                           AFFELD GRIVAKES LLP
                                                        2049 Century Park East, Suite 2460
           22                                           Los Angeles, CA 90067
                                                        Telephone: 310.979.8700
           23                                           Facsimile: 310.979.8701
           24                                           Attorney for Plaintiff ROBERT ROSS
           25

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Crutcher LLP                                                 4
                               JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1                                         FILER’S ATTESTATION
            2           Pursuant to Civil Local Rule 5-1(i)(3), Marcellus A. McRae hereby attests that concurrence in
            3    the filing of this document has been obtained from all the signatories above.
            4

            5    Dated: October 16, 2020                      /s/ Marcellus McRae
                                                              Marcellus McRae
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                                JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1                             [PROPOSED] CASE MANAGEMENT ORDER
            2           The above JOINT CASE MANAGEMENT STATEMENT is approved as the Case

            3    Management Order for this case and all parties shall comply with its provisions.

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            5    IT IS SO ORDERED.

            6
                  Dated: ________________, 2020
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                                                                            HON. JON S. TIGAR
           11                                                         UNITED STATES DISTRICT JUDGE
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Crutcher LLP                                                      6
                                JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
